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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,


v.                                                            Criminal No. 1:21MJ27

GEORGE PIERRE TANIOS,

                       Defendant.


                       ORDER OF TEMPORARY DETENTION
                PENDING HEARING PURSUANT TO BAIL REFORM ACT

         Upon motion of the United States of America, it is

         ORDERED that a detention hearing be set at the earliest possible time after the defendant

has had an opportunity to confer with counsel.

         Pending this hearing, the defendant shall be held in the custody of the United States

Marshal and produced at the hearing.



      DATE:


                                              ____________________________________
                                              UNITED STATES MAGISTRATE JUDGE
